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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES                                    :
                                                  :
                                                  :
        v.                                        :          Case No. PJM-22-0209
                                                  :
 NICHOLAS ROSKE                                   :
                                                  :
        Defendant                                 :

        MOTION FOR LEAVE TO FILE ADDITIONAL PRETRIAL MOTIONS

       Nicholas Roske, the Defendant, by and through Andrew R. Szekely and Meghan G.

Michael, Assistant Federal Public Defenders, hereby moves for leave to file additional pretrial

motions in this case and in support therefore states as follows.

       Mr. Roske is filing a Motion to Suppress Statements contemporaneously with the filing

of this motion. The government has made one discovery production to date and is preparing a

second. Counsel is also conducting an independent investigation into the case. Additionally,

review of the Jencks and similar material now in the exclusive possession of the prosecution, the

defense investigation, as well as further opportunity of Mr. Roske to review the material provided

to date, and facts and issues raised at subsequent court proceedings will generate additional issues

that may properly be the subject of motions or which would require the filing of supplemental

motions and memoranda in support of previously filed motions.

       The motions that the defense seeks to defer filing at this time fall essentially into two

groups: (1) motions which for one reason or another cannot be filed now because evidence

necessary as a predicate to filing the motion is not available to Mr. Roske and counsel, or motions

which depend upon the disposition of a currently filed motion; and (2) motions that principally

relate to evidentiary matters at trial which are most providently filed closer to the trial date.




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       Wherefore, for the foregoing reasons, the Mr. Roske respectfully requests this Honorable

Court to grant him leave to file additional motions.

                                             Respectfully submitted,
                                             James Wyda
                                             Federal Public Defender
                                              for the District of Maryland

                                             ___/s/________________
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